CaSe: 4217-CV-00158-.]|\/|V DOC #Z l Filed:. 11/02_/17 l Of 16 Page|'D #Z l

ND'MIS§, FOR|lA P3. COMPLA¢NI CHALLENG|NG COND|T|ONS OF CONF|NEMENL(li/OO)

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NoRTHERN D1sTRicT oF»'Mlss1ss,1PP1 `

 

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Plaintiff

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D_efendant

`_";f‘: / PR1soNER’s §oMPLAl`NT §HALLENG\NG CoNomoNs oF §oNFiNEMENT '

1. The P|ainiifl’s full legal name, the nam"e under which the Plaintiff was sentenced, the Plainiif“f`s
inmate identification number, the P|ainiiffs mailing address"and the P|aintiff’s place of confinement
are as follows: _

Aj Lega' “a"‘e? ` /l/&\/ l 1/» V e.M/\ (,\> {/»§&§ho¢/L§
B. Name under which senienced: '~ A] CU`IA K£o,l/\ f }LL€:%S`)WO°C€,
C. lnmat_e identification number: _ ‘#5(@@&73
D. Plaintifl’s,mailing address (street'or MS_P // ;)VW~=§_ §§ 15 C/LDQ
post office box n»umber, city, state, Z|P):
l§w<,l/»MM 1143 537 3a

 

 

 

 

 

-E. Place of conlineme nt: v Ml 19me . _ `. /
2_. P|alnbff names the following person(s) as the Defendant(s) i_n this civil action1 .
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Name: v Egg!:;y' 52 ECE('BA> G€-v\,`GU/”l@vk MHM
Title (Superintendent She riff, eic.:) C§I§%`FQ` d um,ée/ p[§m& aim QM/M&ch& CQMO_,.
Defendants mailing address (slreet or O_/ SU\ S<Q©

post olf1ce box number, city state _ZlP)

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N D M|SS. FORM P3, CCMPLA|NT CHALLEN¢INGCOND|T|ONS OF CONF|NEMENT (4/00) ‘ n PAGE 2
' L,J¢>e>&c\)~c§\w\ .d>
.Name: _ H',H uop >L\) G§L‘QOr-&M<‘_’,J`(Co\l
- /`
arrive (su_perimendeni, she riff, etc.): BOB nor 3 <.p‘§\, o w/MCOQ‘OOJ §§ WJ~

Defendant’s mailing address (-streetzc;;>_) - /Q",SH DC… \AD_)M _
post office. box number, clty, state, ' §
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Name-: ' , _ ' ;Pd:|C/°C HC`L\ ‘ _
.Tme`(superintendeni, sheriff, etc.): COMM(&$‘@WCJ~ MAOC,
Defendant’s mailing address (s.treet or k 53 N@/CH,\ 6§0§‘¢5~§ d
post otfice box number, city, state, ZlP) y _ '

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Name: _ . Q~'u;l/\o»r& ~'Dé,u\v\`\vt@.`\'@@ ~
Title (Superintendent, Sheriff, etc.): abc J\¢c<,§r@f [M§{L- A}§ad \ED/\,@q `<’J\QW`_/\
Def'endant’s mailing address (street or 1620 BD)O w m, §§ 0 gov 1057
post otfice box number, city, state, ZlP)

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(lfaddition al Defe_ndants are n amed provide ori separates she ets of paperthe complete name title, "
and address information for each. Clearly label each addition al sheet as being a continuation of
` Question 2).

 

3. Have you commenced other lawsuits in any other court 13 »Yes ' m No
- state orfederal, dealing with or pertaining to the sa me facts
that you allege in this lawsuit or otherwise relating to your
1mpr1so nme nt? - `

4. lf you checked "Yes"in Question 3, describe each lawsuit m the space below n lf there 1s more than
one lawsuit, describe the additional lawsuit(s) on separate sheets of paper; clearly label each
additional sheet as being a continuation of Question 4

A. Parties to the lawsuit: n ' ' .'
P1a1n11ffrs):_ . /('/&/ v, ,,'\ /JL\ £§s`i-Q t/cf;'_ '
Defendant(s): /l/\§ D,:/§;L OQ€_ CQMC;S£F`\ <9 t/\,~S
B_ Court:.~ 466 CO Cw\wgl; §l`;,~${¢:c‘,\% C DOCket No; di Q Q€/Bl
S_MQ._&M.M’:§_L .

D. Judge’s Name: NO QCC,€LL( ~ E. Date suit fled: § it ` k QQ [§‘2
F. Date decided: gm ‘_& QOl(p G. Result (aftirmed, reversed, etc.): fm Q'l$iA/`\RSSEQQ’

5. ls there a prisoner grievancefprocedure or sys- w Yes |:l ' No
_ tem in the place of your confine ment? .

 

6. lf "Yes,”did you present to the grievance sys- gi Yes _ 7 |:l No'
tem the same facts and issues you allege in ' ~
this complaint? (See question 9, below).

7. lf you checked "Yes” in Question 6 answer the following
,questions:

 

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ND MlSS, FORM P3. COMPLA\NT CHALLENG|NG COND|T|ONS OF CONFINEMENT U/GO)

 

PAGEB
A. Does the grievance system place a limit on the ' w Yes l:l No
time within which a grievance must be presented? `
B. lfyou answered "Yes," did you tile orpresent your n Yes [:| No -
grievance within the time limit allowed? '

~ C. The court must find that you exhausted th_e prison’s grievance system and administrative
remedies before it can consider this Complaint State everything you did. to present your
grievance(s) Be sp ecific. include the date(s) on which you filed or presented your grievances to
prison officers; identify the ofticer(s) State your c`,(M;:c|aim(s) exactly

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administrative review of the decision on your grievance, state whether you applied for that
review and what the result was.

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N D M1ss. FoRM P3`, CcMPLA)NT CHALLENGiNGCoNDlTloNs oF CoNFmEMENT Q./00L PAGE 4

 

Special Note: Attach to this Complaint as'exhibits complete copies of atl requests you made
for administrative relief through the grievance system, all responses t_o your requests or
grievances all adm1nlstrat1ve appeals you made, allresponsesto your appeals and all recelpts
for documents that you have

 

 

 

 

 

 

 

 

 

8.4 |f you checked “No” in Queslion 6, explain why you did not use the grievance procedures or
d system: --
9. Write below, as briefly as possible, the facts of.your case. Descn'be how each De'fendant is

involved.Write the names of allother persons involved lnclude dates and precise places of

events. Do notgive any legal argument or cite any legal authority. lf you have more than one .

claim to present number each claim in a sep a`rate paragraph. Attach ad ditional pages only if_

necessary; label attached pages as being continualions of Queslioh 9. '

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ND Mlss. FoRM P3,COMPLA1NT CHALLENGINGCONDITloNS oF CONF|NEMENT (4/00) PAGE 5
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This Complaint was execu te_d at (location): -{V\DO C / pay MWM$

and l de clare or certify or verify or Sta te und er penalty of perjury that this Co mp|a int is true a nd correct

 

Pléintiff,‘s Signature '

Date Qci@_\<)rf_a~_$ _,_;Lot? v

 

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Title II of the Amerieans With Disabilities Act /

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Discrirnination Cornplaint Forrn

Instructions: Please fill out this form completely, in black ink or type.
Sign and return it to the address on page 3.

 

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OMB No. 1190-0009

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Describe the acts of discrimination providing the name(s) where possible of the individuals who
discriminated (use space on page 3 if necessa1y): 566;;»"6~1/\ iioqi c?cit 661 011/101 iO 611164Q

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government, organlzatlon, Or 1nst1tut1on? Yes g NOE

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Has this complaint beenfiled with another bureau o the Department of Justice or any other Federal, State,
or local civil rights agency or court? Yes t NO E

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Contact Person:

 

Address:

 

City, State and Zip Code:

 

Telephone Number:
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Do you intend to file with another agency or court?

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Additional space for answers:

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Disability Rights Sect_ion - NYAV
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The Medicai UntQhas received and reviewed the following results:

__:_____ Lab Work:
___Aay: //‘“ ‘;2? g / (/

R Based on evaluation,~your results were within normal limits. No follow-up is needed,
however i£ you would like to discuss your test results with a member of our healthcare
staff, you may request to do so by submitting a “Sick Call Request." This will not result

in a co-pay fee.

 

§ ,EJ Based on evaluation, your results were outside of normal limits, and you are being
scheduled for a routine foilow~up appointment within 2 weeks.

C| Your Clu'onic Care RQL$¢H| €e$ discussed with you in your scheduled Chronlc Care
Clinie visit.

 

 

 

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The Medica| Unit has received and reviewed the following results:

Lab Work:

 

//' X-ray: bcoqu-

E Based on evaluation, your results were within normal limits. No follow-
up l ”eeded.
Based on evaluation, your results were outside of normal limits and you are being
scheduled for a routine follow~up appointment with 2 weeks.

[:} Your Chronic Care Test(s) will be discussed with you in your scheduled Chronic Care C|inic
visit.

 

 

 

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